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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &         FOR COURT USE ONLY
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     Respondent appearing without attorney
     Attorney for Respondent: 2nd Chance Investment Group, LLC
                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                               CASE NO.: 8:22-bk-12142-SC
              2nd Chance Investment Group, LLC
                                                                               CHAPTER: 11


                                                                                RESPONSE TO MOTION REGARDING THE
                                                                                        AUTOMATIC STAY
                                                                               DATE: May 31, 2023
                                                                               TIME:    1:30 pm
                                                                               COURTROOM: 5C- Virtual
                                                                               PLACE: 411 W. Fourth Street
                                                                               Santa Ana, CA
                                                                     Debtor.   Zoom.gov




Movant:         U.S. BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY BUT SOLELY AS OWNER
                TRUSTEE FOR VRMTG ASSET TRUST

Respondent:              Debtor           trustee           other:

1.        NONOPPOSITION

     The Respondent does not oppose the granting of the Motion.

2.     LIMITED OPPOSITION
     a.   Respondent opposes the Motion only to the extent that it seeks immediate relief from stay. Respondent requests
          that no lock out, foreclosure, or repossession take place before (date):       and the reason for this request is
          (specify):
     b. As set forth in the attached declaration of the Respondent or the Debtor, the motion is opposed only to the extent
          that it seeks a specific finding that the Debtor was involved in a scheme to hinder, delay or defraud creditors.
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             The Debtor:
             (1)  has no knowledge of the Property.
             (2)  has no interest in the Property.
             (3)  has no actual possession of the Property.
             (4)  was not involved in the transfer of the Property.

     c.      Respondent opposes the Motion and will request a continuance of the hearing since there is an application for a
             loan modification under consideration at this time. Evidence of a pending loan modification is attached as
             Exhibit      .

3.        OPPOSITION The Respondent opposes granting of the Motion for the reasons set forth below.

     a.     The Motion was not properly served (specify):

             (1)    Not all of the required parties were served.
             (2)    There was insufficient notice of the hearing.
             (3)    An incorrect address for service of the Motion was used for (specify):

     b.     Respondent disputes the allegations/evidence contained in the Motion and contends as follows:
            (1)  The value of 37472 Yorkshire Dr., Palmdale, CA 93550 (the "Property") is $ 410,000 - $465,000           ,
                 based upon: The Debtor filed APPLICATION OF 2nd CHANCE INVESTMENT GROUP LLC TO EMPLOY
                 BROKER & CO-BROKERS PURSUANT TO 11 U.S.C. §§ 327 AND 328; MEMORANDUM OF POINTS
                 AND AUTHORITIES; AND DECLARATIONS OF IN SUPPORT ("Employment Application") on March 26,
                 2023 as ECF No. 80. The Employment Application provides for the Debtor to employ Coldwell Banker and
                 Citrus Grove Real Estate as broker and co-broker with a listing price of $410,000. Movant's motion or relief
                 from stay includes an opinion of value of $465,000.
            (2)  Total amount of debt (loans) on the Property is $ 175,954.32 per Movant's motion         . The Debtor's
                 originally filed schedules list $162,000. Movant's proof of claim filed on April 10, 2023 as Claim No. 55 lists
                 a claim of $165,647.56.
            (3)  More payments have been made to Movant than the Motion accounts for. True and correct copies of
                 canceled checks proving the payments that have been made are attached as Exhibit               .
            (4)  There is a loan modification agreement in effect that lowered the amount of the monthly payments. A true
                 and correct copy of the loan modification agreement is attached as Exhibit           .
            (5)  The Property is necessary for an effective reorganization liquidation. The Debtor intends to file a
                 liquidating plan on or by May 10, 2023 which will provide for the orderly liquidation of 37472 Yorkshire Dr.,
                 Palmdale, CA 93550-6239. Other creditors will be harmed if the equity is not available to pay allowed
                 claims.
            (6)  The Property is fully provided for in the chapter 13 plan and all postpetition plan payments are current. A
                 true and correct copy of the chapter 13 plan is attached as Exhibit         and proof that the plan payments
                 are current through the chapter 13 trustee is attached as Exhibit         .
            (7)  The Property is insured. Evidence of insurance was provided to the Office of the United States Trustee.
                 The same policy remains in effect.
            (8)  Movant’s description of the status of the unlawful detainer proceeding is not accurate.
            (9)  Respondent denies that this bankruptcy case was filed in bad faith.
            (10)   The Debtor will be prejudiced if the Nonbankruptcy Action is allowed to continue the nonbankruptcy
                 forum.
            (11)   Other (specify): Movant filed Notice of Motion and Motion for Relief from the Automatic Stay Under 11
                 U.S.C. Section 362 (the "Motion") on May 3, 2023.

                                        Movant is Adequate Protected Under 11 U.S.C. 362(d)(1)
             The Motion seeks relief under 11 U.S.C. Section 362(d)(1) for cause. No relief is sought under (d)(2), (d)(3), or
             (d)(4). 11 U.S.C. Section 362(d)(1) reads, "for cause, including the lack of adequate protection of an interest in
                    property of such party in interest;"

             The statute specifically identifies adequate protection as an exception in a relief from stay context. Because the
                   relief sought by Movant is based on grounds of missed payments, the Motion should be denied. The
                   Debtor's Chapter 11 Plan will be a liquidating plan that pays Movant's claim in full upon the sale of the
                   Property.

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             Movant checks boxes under category 4 of its motion, Grounds for Relief from Stay, citing that cause exists
                 because the Property is not adequately protected. Movant's motion provides evidence to the contrary by
                 providing actual evidence that the value of the property provides adequate protection; the value of the
                 Property is not declining, but possibly appreciating based on the Debtor's originally listed value in its
                 Schedule A and the value of the listing price of the property from its Employment Motion. Exhibit D to the
                 Motion indicates a value of $465,000 with a high value estimated at $492,500.

             The Ninth Circuit held that a 20% equity cushion provides adequate protection. In re Mellor, 734 F.2d 1389, 1401
                  (9th Cir. 1984) (relief from stay context)."The bankruptcy court found that the value of the residence is
                  $105,000; thus, there is an "equity cushion" to protect the sellers' interest in the amount of $20,340 or
                  approximately 20% of the total value. A 20% cushion has been held to be an adequate protection for a
                  secured creditor. See In re McGowan, 6 B.R. 241, 243 (B.Ct.E.D.Pa. 1980) [holding a 10% cushion is
                  sufficient to be adequate protection]; In re Rogers Development Corp., 2 B.R. 679, 685 (B.Ct.E.D.Virg.
                  1980) [court decided that an equity cushion of approximately 15% to 20% was sufficient adequate
                  protection to the creditor, even though the debtors had no equity in the property.]; In re Breuer ,4 B.R. 499,
                  501 [creditor protected by equity cushion of $21,000 despite fact that debtor lacked equity in the
                  property.]."


             The Mellor court cited other cases that less than 20% may be adequate, notably one that a 10% equity cushion
                  sufficed.

             “The purpose of adequate protection under § 361 is to insure that the secured creditor receives in value
                   essentially what he bargained for, not a windfall. See In re Curtis, 9 B.R. at 112.” In re Mellor, 734 F.2d
                   1396, 1401 (9th Cir. 1984)

             Movant's own motion lists an "equity cushion" of $289,045.68 being 62% of the fair market value of the property.
             The Debtor's Employment Motion lists $214,000 in equity. See ECF No. 118, Page 2. Either way, there is
                  sufficient equity to adequately protect Movant until the Debtor's plan is confirmed or the Property is
                  liquidated. The calculated equity protects Movant's claim and provides at least a 20% equity cushion.

             Debtor Opposes Relief Requested
             Debtor opposes any termination of the automatic stay, whether it relates to the Debtor, property of the estate, a
                  co-debtor, or the 14-day stay prescribed under FRBP 4001(a)(3).

   c.       Respondent asserts the following as shown in the declaration(s) filed with this Response:

             (1)    The bankruptcy case was converted from chapter             to chapter        .
             (2)    All postpetition arrearages will be cured by the hearing date on this motion.
             (3)    The Property is fully provided for in the chapter 13 plan and all postpetition plan payments    are current,
                    or    will be cured by the hearing date on this motion.
             (4)    The Debtor has equity in the Property in the amount of $ 214,000 - $289,045.68         .
             (5)    Movant has an equity cushion of $          or      % which is sufficient to provide adequate protection.
             (6)    The Property is necessary for an effective reorganization liquidation because (specify): The Debtor's
                    liquidation plan will sell the Property.
             (7)    The motion should be denied because: Movant is not harmed by the Debtor listing and selling the
                    Property. The granting of the Motion harms unsecured creditors who will receive a dividend from the sale
                    of the Property. The denial of the Motion allows the Debtor to liquidate the Property, pay Movant in full,
                    and provide a dividend to the general unsecured class.




             (8)    An optional memorandum of points and authorities is attached in support of this Response.
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4. EVIDENCE TO AUTHENTICATE EXHIBITS AND TO SUPPORT FACTS INSERTED IN THE RESPONSE:

  Attached are the following documents in support of this Response:

  x Declaration by the Debtor                                   Declaration by the Debtor’s attorney
     Declaration by trustee                                     Declaration by trustee’s attorney
     Declaration by appraiser                                   Other (specify): Admissions in the moving papers filed as ECF No.
                                                              124 relating to the value of the subject property.

Date:       May 4, 2023                                          Financial Relief Law Center, APC
                                                              Printed name of law firm for Respondent (if applicable)

                                                                 Andy C. Warshaw
                                                              Printed name of individual Respondent or attorney for Respondent

                                                                 /s/ Andy C. Warshaw
                                                              Signature of individual Respondent or attorney for Respondent




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                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1200 Main St., Suite C
Irvine, CA 92614

A true and correct copy of the foregoing document entitled (specify): (1) RESPONSE TO MOTION REGARDING THE AUTOMATIC
STAY will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 05/04/2023 , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:
Amanda G. Billyard abillyard@bwlawcenter.com
Stephan M Brown ECF@thebklawoffice.com, stephan@thebklawoffice.com;roslyn@thebklawoffice.com
Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
Lazaro E Fernandez lef17@pacbell.net,
lef-sam@pacbell.net;lef-mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com
Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
David M Goodrich dgoodrich@go2.law,
kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com
Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
Charity J Manee cmanee@goeforlaw.com, kmurphy@goeforlaw.com
Randall P Mroczynski randym@cookseylaw.com
Queenie K Ng queenie.k.ng@usdoj.gov
Douglas A Plazak dplazak@rhlaw.com
Arvind Nath Rawal arawal@aisinfo.com
Gary B Rudolph rudolph@sullivanhill.com,
bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com
Cheryl A Skigin ca.ecf@aislegaltrac.com, caskigin@earthlink.net
Richard L. Sturdevant rich@bwlawcenter.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
Christopher P. Walker cwalker@cpwalkerlaw.com, lhines@cpwalkerlaw.com;r57253@notify.bestcase.com
Fanny Zhang Wan fwan@raslg.com
Andy C Warshaw awarshaw@bwlawcenter.com, warshaw.andyb110606@notify.bestcase.com
Jennifer C Wong bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com

                                                                                       Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 05/04/2023 , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.
-None

                                                                                       Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 05/04/2023 , I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.
-None


                                                                                       Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
May 4, 2023                   Andy C. Warshaw                                            /s/ Andy C. Warshaw
Date                          Printed Name                                               Signature


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